Case 18-31436           Doc 347         Filed 07/07/21 Entered 07/07/21 12:01:59      Desc Main
                                         Document Page 1 of 27

  FILED & JUDGMENT ENTERED
         Steven T. Salata


           July 7 2021


    Clerk, U.S. Bankruptcy Court
   Western District of North Carolina
                                                                       _____________________________
                                                                                 Laura T. Beyer
                                                                         United States Bankruptcy Judge




                            UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

In re:                             )
                                   )
VR KING CONSTRUCTION, LLC,         )                          Chapter 7
                                   )                          Case No. 18-31635
                    Debtor.        )
___________________________________)
                                   )
In re:                             )
                                   )
VINROY W. REID,                    )                          Chapter 7
                                   )                          Case No. 18-31436
                    Debtor.        )
                                   )

                         ORDER OVERRULING OBJECTIONS TO CLAIM

      THIS MATTER is before the court on VR King Construction, LLC’s

(“VR King”), Vinroy Reid’s (“Reid”), and the Chapter 7 Trustee’s

objections to the claim (the “Claim”) filed by Y2 Yoga Cotswold,

LLC (“Y2 Yoga”).               In the Claim, Y2 Yoga asserts that the Debtors,

VR King and Reid, are indebted to Y2 Yoga in the amount of

$1,218,901.99 secured by real estate with a value of $2,000,000.

For the reasons explained below, the court overrules the objections

to the Claim.
    Case 18-31436   Doc 347   Filed 07/07/21 Entered 07/07/21 12:01:59   Desc Main
                               Document Page 2 of 27



                       I.     Facts and Procedural History

        The court has previously explained the facts and procedural

history relevant to this bankruptcy proceeding.                     See Y2 Yoga

Cotswold, LLC v. V.R. King Construction, LLC (In re VR King

Construction, LLC), Ch. 7 Case No. 18-31635, Adv. No. 19-3047,

2020 WL 7063192, at *1-6 (Bankr. W.D.N.C. Dec. 2, 2020).1                       On

December 2, 2020, the court entered identical orders in the VR

King and Reid adversary proceedings that resolved many of the

common issues in those proceedings.              The orders granted Y2 Yoga,

the plaintiff in each adversary proceeding, summary judgment as to

its first and second claims for relief, thereby establishing that

Y2 Yoga has a properly perfected security interest in the attached

properties that secure Y2 Yoga’s judgment and that its security

interest has priority over any rights that the Trustee or Debtors

have in the property.          See id. at *17.      The court also denied the

Trustee’s motions to dismiss, granted Y2 Yoga summary judgment

with respect to the defenses of res judicata, collateral estoppel,

the Rooker-Feldman doctrine, and the affirmative defenses asserted

by VR King and Reid, and denied the Rule 12 motions of VR King and

Reid.      See id.      The court further concluded that the Y2 Yoga

Expansion Construction Agreement (the “Construction Agreement”)

between      the    parties   is   an   enforceable    agreement    under    North


1
 An adversary proceeding was simultaneously filed in Reid’s Chapter 7 proceeding
and is pending before this court as adversary proceeding no. 19-3049. The
parties, the facts pled, the relief sought in each complaint, and the defenses
thereto in each of the two adversary proceedings are identical.


                                          2
Case 18-31436     Doc 347    Filed 07/07/21 Entered 07/07/21 12:01:59      Desc Main
                              Document Page 3 of 27



Carolina    law,    the     indemnity      provision    in    the     Construction

Agreement is valid and enforceable as a reciprocal attorney’s fees

provision under North Carolina General Statute § 6-21.6, and the

indemnity claim may be adjudicated in further proceedings before

this court.      See id.

     The court deferred ruling on the issues raised pursuant to 11

U.S.C. § 506(b) in Y2 Yoga’s third claim for relief given that it

was unclear at the time whether the Debtors’ estates were fully

solvent.2   See id. at *16.         The court explained that, if necessary,

it could make a determination regarding the § 506(b) claim after

the Trustee sells the Debtors’ real property.                  Id.    The Trustee

raised the legal issue as to whether Y2 Yoga is entitled to

reasonable attorney’s fees under § 506(b) as the holder of a

nonconsensual lien.           Id.     Under the Fourth Circuit’s recent

decision    in   SummitBridge,        a   creditor    can    assert    a   separate

unsecured     claim    for     post-petition         attorney’s      fees.       See

SummitBridge Nat'l Invs. III, LLC v. Faison, 915 F.3d 288, 292–97

(4th Cir. 2019)       (concluding that § 506(b) does not disallow

unsecured claims for post-petition attorney’s fees).                  As a result,

even if Y2 Yoga does not have a secured claim for reasonable

attorney’s fees pursuant to § 506(b), it would still have an

unsecured claim.      Y2 Yoga, 2020 WL 7063192, at *16.




2
  It appears that the estates are fully solvent and will be able to pay all
claims in full, whether they are secured or unsecured.


                                          3
Case 18-31436    Doc 347    Filed 07/07/21 Entered 07/07/21 12:01:59            Desc Main
                             Document Page 4 of 27



       With this background in mind, the court instructed Y2 Yoga to

file an amended proof of claim by July 6, 2020, and for the other

parties to file any objections by July 20, 2020, in anticipation

of holding a hearing soon after.              Y2 Yoga subsequently amended its

proof of claim on July 6, 2020, asserting that the Debtors were

indebted to it in the amount of $981,139.49 and that real estate

with a value of $2,000,000 secures the claim.                       The amounts due

were broken down as follows: a) principal amount of February 8,

2019 state court final judgment (“Final Judgment”): $396,649.57;

b) costs of state court litigation: $23,131.98; c) interest on

Final   Judgment   through        October     1,     2020    at   the    rate     of    8%:

$207,429.30; d) pre-petition legal fees of Horack Talley Pharr &

Lowndes, P.A. (“HT”): $52,683.73; e) pre-petition fixed legal fee

of David G. Guidry (“Guidry”): $19,000; f) Guidry’s post-petition

contingency fee: $282,244.91; and g) post-petition legal fees of

bankruptcy     counsel,     The       Henderson      Law    Firm,       PLLC:     “To    be

determined.”     Y2 Yoga amended its proof of claim again on July 16,

2020 to assert a debt in the amount of $1,218,901.99 secured by

real estate with a value of $2,000,000.                    Attached to the July 16

amended    claim   is      an   invoice       from    The     Henderson         Law     Firm

(“Henderson”) which states that, as of July 10, 2020, Y2 Yoga owes

Henderson $222,615.00.           There is also a separate invoice in the

amended claim for a previous balance totaling $15,147.50.                                The

fees    and     expenses        are     related       to     Henderson’s          ongoing




                                          4
 Case 18-31436    Doc 347   Filed 07/07/21 Entered 07/07/21 12:01:59    Desc Main
                             Document Page 5 of 27



representation of Y2 Yoga in the bankruptcy proceedings.                        The

Debtors and the Chapter 7 Trustee each filed written objections to

the Claim on July 20, 2020.

      The court rescheduled the hearing on the objections to the

Claim for a variety of reasons and ultimately held the hearing on

February 2 and February 3, 2021.                    The Chapter 7 Trustee and

attorneys for the Debtors and Y2 Yoga appeared at the hearing.

The   court   announced      its   ruling     on    February    16,   2021.     The

objections are addressed in turn below.

                    II.     Objections of VR King and Reid

      VR King and Reid object to the Claim in its entirety since it

was amended 10 days after the court’s July 6, 2020, deadline.                    VR

King previously raised the same objection in its July 24, 2020,

Motion to Strike the Claim, and the court denied that motion on

February 2, 2021.3        For the same reasons, the court overrules this

objection.       The Debtors also object to the Claim for reasons

related to § 506(b), but, as previously explained, the court

preserved ruling on those issues and, for purposes of this hearing,

will assume that the Debtors’ estates are solvent and that all

claims will be paid in full.

      Next,   the   Debtors     assert       that   Y2   Yoga   may   not   recover

attorney’s fees in excess of the judgment amount of $396,649.57.

Under § 6-21.6(f), the award of reasonable attorney’s fees may not


3
  The court subsequently entered its Order Denying Motion to Strike on March
16, 2021.


                                         5
Case 18-31436    Doc 347    Filed 07/07/21 Entered 07/07/21 12:01:59      Desc Main
                             Document Page 6 of 27



exceed the amount in controversy, and the Debtors argue that the

amount in controversy equates to the damages awarded by the jury

in state court.       This argument is a misreading of the statute based

on the plain meaning and legislative history of the statute.

      First, the plain language of § 6-21.6 indicates that the

amount in controversy does not equate to the judgment obtained.

Specifically,     §    6-21.6(c)(1)       references       both    the   “amount   in

controversy” and the “results obtained” as factors courts should

consider in determining reasonable attorney’s fees and expenses

under § 6-21.6.         The “results obtained” refers to the damages

awarded by the jury, and thus, the “amount in controversy” must

necessarily have some other meaning.                This is consistent with the

common   understanding       that   the       use   of   the   phrase    “amount   in

controversy” in other statutes does not refer to the judgment

obtained at trial.         For example, for purposes of determining the

jurisdictional limits of certain courts, the amount in controversy

refers to the damages sought in the complaint at the inception of

an action rather than the damages awarded by a jury at the

conclusion of the lawsuit.

      Second, the amount in controversy is not synonymous with the

judgment amount based on a review of the legislative history.                      As

originally enacted, the last sentence of § 6-21.6(b) provided that

“[i]n any suit, action, proceeding, or arbitration primarily for

the   recovery    of    monetary    damages,         the   award    of   reasonable




                                          6
Case 18-31436   Doc 347   Filed 07/07/21 Entered 07/07/21 12:01:59    Desc Main
                           Document Page 7 of 27



attorneys’ fees may not exceed the monetary damages awarded.”

(emphasis added).      In 2015, as part of a technical corrections

bill, the legislature amended § 6-21.6(b) to remove the last

sentence concerning the monetary damages award cap.            See S.L. 119,

2015 Gen. Assemb., Reg. Sess. (N.C. 2015) (providing for technical

corrections to general statutes and sessions laws).                  Courts in

North Carolina must give every word of a statute effect and presume

“that the legislature carefully chose each word used."               N.C. Dep't

of Corr. v. N.C. Med. Bd., 363 N.C. 189, 201, 675 S.E.2d 641, 649

(2009) (citing Rhyme v. K-Mart Corp., 358 N.C. 160, 188, 594 S.E.2d

1, 20 (2004)).        Here, the deletion of the “monetary damages”

language   in   the   statute   clearly    indicates     a   choice     by   the

legislature that a claim for legal fees and expenses is not

necessarily limited to the judgment amount.

     In this case, the amount sought in the Statement of Monetary

Relief Sought filed in the state court action was between $1.7 and

$2.5 million.     This figure did not include treble damages and

punitive damages sought in state court or the interest, costs, and

attorney’s fees sought in the current proceeding.                Guidry, the

attorney for Y2 Yoga for most of the state court proceeding,

testified that Y2 Yoga sought damages of $2.4 million consisting

of $1.7 million in repairs and completion of the construction

project and $700,000 in lost profits.           Therefore, the amount in

controversy in this case was at least $1.7 million and does not




                                      7
Case 18-31436    Doc 347   Filed 07/07/21 Entered 07/07/21 12:01:59   Desc Main
                            Document Page 8 of 27



equate to the judgment of $396,649.57 that the state court awarded

to Y2 Yoga.

       Lastly, the Debtors argue that the attorney’s fees of HT and

Guidry are pre-petition fees that are not allowed pursuant to the

ruling in SummitBridge.         This is a misstatement of the issue and

the holding in that case.        SummitBridge holds that a creditor may

assert an unsecured claim for post-petition attorney’s fees based

on a pre-petition contract and does not address pre-petition

attorney’s fees.      915 F.3d at 291–97.      The ruling in SummitBridge

is not applicable to the pre-petition fees of HT or Guidry that

this   court    has   already   allowed    pursuant    to   the    pre-petition

Construction Agreement.         In conclusion, none of the objections

raised by the Debtors have any merit.

                       III. Objections of the Trustee

       The Trustee objects to the Claim on three bases.               The first

is that the court cannot determine that Y2 Yoga’s claim is over-

secured and thus, cannot determine what, if any, costs and post-

petition interest are allowable under § 506(b).                   It is unclear

what “costs” the Trustee is referring to.             The only costs Y2 Yoga

seeks are the $23,131.98 in state court costs pursuant to the

Superior Court’s February 8, 2019, Order on Post-Verdict Motions

(the “Post-Verdict Order”).        These costs are an allowed part of Y2

Yoga’s secured claim.        With respect to the interest, the Final

Judgment awarded interest at the legal rate of 8% from and after




                                       8
    Case 18-31436   Doc 347     Filed 07/07/21 Entered 07/07/21 12:01:59    Desc Main
                                 Document Page 9 of 27



the date of the breach of contract, March 21, 2014.                   Therefore, Y2

Yoga’s secured claim would include interest on its judgment running

from March 21, 2014, until the petition date of these bankruptcy

proceedings, September 21, 2018, for Reid and October 31, 2018,

for VR King.        Pursuant to § 506(b), Y2 Yoga is not entitled to any

post-petition interest unless the claim is oversecured. As already

noted, it cannot be determined yet whether Y2 Yoga’s claim is

oversecured.4

        Second, the Trustee objects to the Claim on the basis that

the attorney’s fees are unreasonable.               The Trustee does so without

addressing any of the specific factors in § 6-21.6 or any of the

Johnson factors used to assess reasonableness under § 506(b).5

Third, the Trustee objects to the Claim on the ground that the

attorney’s fees exceed the amount in controversy.                     This argument

was previously addressed, and the Trustee abandoned this argument

at the hearing on the objection.                  In summation, similar to the

objections raised by the Debtors, the objections of the Trustee

are not persuasive.             Having disposed of the objections raised by

the     Debtors     and   the    Trustee,   the    final   issue   to      resolve    in

determining         the   validity     of   the    Claim    is   to     analyze      the

reasonableness of HT’s, Guidry’s, and Henderson’s fees.




4
  Again, the Debtors estates appear to be fully solvent, and Y2 Yoga is likely
oversecured and entitled to its post-petition interest.
5
  The reasonableness of the attorney’s fees is addressed in more detail in the
next section of this order.


                                            9
Case 18-31436   Doc 347      Filed 07/07/21 Entered 07/07/21 12:01:59     Desc Main
                             Document Page 10 of 27



                    IV.   Reasonableness of Attorney’s Fees

       As   already       noted,   the     Construction       Agreement     is    an

enforceable     agreement       and     the     indemnity    provision     in     the

Construction Agreement is valid and enforceable as a reciprocal

attorney’s fees provision under § 6-21.6.                   Therefore, the court

must determine the reasonableness of the fees sought by HT, Guidry,

and Henderson in the Claim.             None of the objections to the Claim

address the factors courts use to analyze the reasonableness of

fees   with   the    exception     of    those    related     to   the   amount   in

controversy.    However, it is the burden of the creditor to prove

the reasonableness of the requested fees.                   See In re McCormick,

417 B.R. 372, 376 (Bankr. M.D.N.C. 2008) (citations omitted).                     As

a result, Y2 Yoga must demonstrate                   that the attorney’s fees

requested are reasonable under the proper standard.

       Courts use different standards to determine reasonableness in

different     circumstances.            Under    §    506(b),      any   reasonable

attorney’s fees are allowed to the extent that a secured claim is

oversecured.    In determining reasonableness under § 506(b), courts

look to the twelve Johnson factors, which are as follows:

       (1) the time and labor required in the case, (2) the
       novelty and difficulty of the questions presented, (3)
       the skill required to perform the necessary legal
       services, (4) the preclusion of other employment by the
       lawyer due to acceptance of the case, (5) the customary
       fee for similar work, (6) the contingency of a fee, (7)
       the time pressures imposed in the case, (8) the award
       involved and the results obtained, (9) the experience,
       reputation, and ability of the lawyer, (10) the
       “undesirability” of the case, (11) the nature and length


                                         10
    Case 18-31436   Doc 347   Filed 07/07/21 Entered 07/07/21 12:01:59   Desc Main
                              Document Page 11 of 27



        of the professional relationship between the lawyer and
        the client, and (12) the fee awards made in similar
        cases.

E.g., Pellegrin v. Nat’l Union Fire Ins. Co. of Pittsburgh (In re

Abrams & Abrams, P.A.), 605 F.3d 238, 244 (4th Cir. 2010); see

Johnson v. Ga. Highway Express, Inc., 488 F.2d 714, 717–19 (5th

Cir. 1974), abrogated by Blanchard v. Bergeron, 489 U.S. 87

(1989).6      An award of attorney’s fees under § 6-21.6 must also be

reasonable, and, specifically, a court may consider the following

factors when determining reasonableness:

        (1) The amount in controversy and the results obtained,
        (2) The reasonableness of the time and labor expended,
        and the billing rates charged, by the attorneys, (3) The
        novelty and difficulty of the questions raised in the
        action, (4) The skill required to perform properly the
        legal services rendered, (5) The relative economic
        circumstances of the parties, (6) Settlement offers made
        prior to the institution of the action, (7) Offers of
        judgment pursuant to Rule 68 of the North Carolina Rules
        of Civil Procedure and whether judgment finally obtained
        was more favorable than such offers, (8) Whether a party
        unjustly exercised superior economic bargaining power in
        the conduct of the action, (9) The timing of settlement
        offers, (10) The amounts of settlement offers as
        compared to the verdict, (11) The extent to which the
        party seeking attorneys’ fees prevailed in the action,
        (12) The amount of attorneys’ fees awarded in similar
        cases, and (13) The terms of the business contract.

N.C. GEN. STAT. § 6-21.6(c).

        In Abrams, after observing that the parties spent a great

deal of time litigating whether the review of attorney’s fees was



6
 The Supreme Court did not abrogate the Johnson factors, and other courts often
cite to them when analyzing the reasonableness of attorney’s fees
under § 506(b). Blanchard abrogated Johnson by holding that a contingency fee
arrangement did not place a cap upon fees recoverable by a prevailing plaintiff.


                                         11
Case 18-31436   Doc 347   Filed 07/07/21 Entered 07/07/21 12:01:59   Desc Main
                          Document Page 12 of 27



a federal or state question, the Fourth Circuit was “not convinced

. . . that the law of either state is so different from the federal

standard as to make a difference” and was “persuaded that the

virtues of simplicity and straightforwardness counsel against

adopting different standards with different shades and nuances in

different contexts.”      Pellegrin v. Nat’l Union Fire Ins. Co. of

Pittsburgh (In re Abrams & Abrams, P.A.), 605 F.3d 238, 244 (4th

Cir. 2010) (citation omitted).            In this case, since the two

standards at issue are very similar and the court has deferred

ruling on whether the attorney’s fees are secured or unsecured,

the court will follow the lead of the Abrams case and analyze the

reasonableness of all the attorney’s fees primarily using the

factors set out in § 6-21.6(c) as it would for any pre-petition or

unsecured   attorney’s    fees   while    also   considering    the    Johnson

factors used pursuant to § 506(b) as set out in Abrams, which is

a contingency fee case.      See id. (noting that in a contingency fee

case, district courts should look to the twelve factors first set

forth in Johnson and adopted by the Fourth Circuit in Barber v.

Kimbrell's, Inc., 577 F.2d 216, 226 (4th Cir. 1978) and Allen v.

United States, 606 F.2d 432, 436 (4th Cir. 1979)).                   The court

largely agrees with the chart attached as Exhibit A to the Amended

and Supplemental Declaration of David G. Guidry (“Chart”) that

provides a summary comparison of the factors set forth in § 6-21.6




                                     12
    Case 18-31436   Doc 347    Filed 07/07/21 Entered 07/07/21 12:01:59    Desc Main
                               Document Page 13 of 27



and in Abrams.7         To the extent that the court applies specific

factors under § 6-21.6(c), it also applies comparable factors set

out in Abrams consistent with the Chart.8 The factors are addressed

in turn below and will largely discuss the fees of Guidry since

they were the focus of the objections and the evidence.                    HT’s fees

and Henderson’s fees are addressed as well but in less detail.

     A. Amount in controversy, the results obtained, and the extent
        to which the party seeking attorney’s fees prevailed in the
        action.9

        The court has already addressed the meaning of the “amount

in controversy” and determined that the amount was at least $1.7

million.       The parties spent much of the February 2–3 hearing

discussing the results obtained and the extent to which Guidry

prevailed on behalf of Y2 Yoga.                The state court action in this

case contained multiple causes of action including breach of

contract, fraud, negligent misrepresentation, conversion, punitive

damages,      unfair   or     deceptive    trade   practices,     and     fraudulent

transfer.      See Y2 Yoga Cotswold, LLC v. Reid, No. 16-CVS-023179,

2019 WL 5099480, at *1 (N.C. Super. Ct. Feb. 8, 2019).                     The jury

found for Y2 Yoga on the breach of contract claim, found against

Y2 Yoga on all other claims, and awarded damages in the amount of

$396,649.57 plus costs and interest at the rate of 8% from the


7
  The factors in Abrams are the same as the twelve Johnson factors. See Abrams,
605 F.3d at 244.
8
  The court specifically addresses any differences between the two standards.
9
  These are factors 1 and 11 of § 6-21.6. These are analogous to Abrams factors
5 (“customary fee for similar work”) and 8 (“award involved and the results
obtained”).


                                          13
Case 18-31436     Doc 347   Filed 07/07/21 Entered 07/07/21 12:01:59   Desc Main
                            Document Page 14 of 27



date of the breach.         See id.; see also Y2 Yoga Cotswold, LLC v.

Reid, No. 16-CVS-023179, 2019 WL 5099484, at *1 (N.C. Super. Ct.

Mar. 6, 2019) (awarding $23,131.98 in costs).             The Debtors and the

Trustee suggested that since Y2 Yoga only prevailed on the breach

of contract claim and recovered only about 25% of what it sought

in its complaint, Guidry did not prevail on behalf of Y2 Yoga.

      This assertion is incorrect given that a $396,649.57 judgment

plus costs and interest is an accomplishment in and of itself,

particularly in a case of this nature where certain claims alleged

are   difficult    to   prove.      Supporting     this   conclusion     is   the

testimony of Randy Matz (“Matz”), one of Y2 Yoga’s investors, who

stated that he was pleased with the result.           In addition, it stands

to reason that the results obtained relative to the amount in

controversy should be given less weight in a contingency fee case

since the fee awarded is directly tied to the result obtained.

Had Y2 Yoga won a larger verdict, Guidry’s fee would have been

larger, and this same objection would have been raised on a larger

scale.

      With respect to Henderson’s fees relative to Y2 Yoga’s success

in this bankruptcy case, Y2 Yoga has prevailed in all respects in

this proceeding—beginning with the conversion of the case, the

reconsideration of the conversion, the appeal of the conversion,

the declaratory judgment proceedings, the reconsideration of the

court’s ruling on summary judgment, and now the hearing on the




                                       14
 Case 18-31436    Doc 347      Filed 07/07/21 Entered 07/07/21 12:01:59    Desc Main
                               Document Page 15 of 27



objections to claim.             As for HT’s fees, Guidry and Matz both

testified that HT’s work leading up to the filing of the first and

second    complaint      was     helpful    and   contributed     to      Y2   Yoga’s

successful       verdict.         In    conclusion,       HT’s,   Guidry’s,       and

Henderson’s fees are all reasonable in light of the amount in

controversy, the results obtained, and the extent to which the

parties prevailed.

     B. Novelty and difficulty of the questions raised in the
        action10

       This factor weighs in favor of considering Guidry’s fee

reasonable.      The state court litigation was somewhat novel due to

the attachment lien issues, the multiple parties involved, the

destruction of the defendant’s business records in a fire, the

insurance coverage litigation in federal district court, and the

many causes of action alleged in the complaint.                   The overlay of

the bankruptcy issues and the work done by Guidry and Henderson to

assist Y2 Yoga in recovering the judgment it obtained in state

court    make    these   proceedings       even    more    difficult.          Another

indication that the litigation is complex is the fact that the

state court designated the first complaint as a Rule 2.1 case.

Rule 2.1 of North Carolina’s General Rules of Practice for the

Superior and District Courts provides that the Chief Justice may


10
  This is factor 3 of §     6-21.6(c) and is analogous to Abrams factor 2 (“the
novelty and difficulty      of the questions presented”).     This section also
addresses Abrams factors    10 (“the ‘undesirability’ of the case”) and 11 (“the
nature and length of the    professional relationship between the lawyer and the
client”).


                                           15
Case 18-31436    Doc 347    Filed 07/07/21 Entered 07/07/21 12:01:59   Desc Main
                            Document Page 16 of 27



designate any case as “exceptional” or “complex business,” and

factors to consider in making this designation include the number

of parties, the amount of anticipated pretrial discovery, and the

complexity of the legal issues.          According to Guidry’s testimony,

the state court did not designate the second complaint as a 2.1

case due to the number of parties involved and the inability to

coordinate the designation but not because the case did not meet

the criteria.      Thus, all of these facts support the conclusion

that this is a novel and difficult case.

     In addition, the circumstances of Guidry’s representation

coupled   with    the      risks   associated    with    the   case    made   it

undesirable.     Y2 Yoga previously pursued the case against the

Debtors with HT representing them on a time and expense basis.

After Y2 Yoga paid HT all it could afford, Matz testified it had

to change strategies to survive.            It took a dismissal of the case

and focused on completing the construction project.                Y2 Yoga was

in a desperate state financially due to the construction delays,

and, since Guidry had a relationship with the owner of Y2 Yoga, he

agreed to represent Y2 Yoga on a contingency fee basis with a flat

fee of only $19,000.         This was the only way Y2 Yoga could afford

to reopen and recover some of the damages related to the faulty

construction. As the court similarly concluded in Abrams, Guidry’s

representation of Y2 Yoga on a contingency fee basis served as the

only way for Y2 Yoga to protect its interest and was “the key to




                                       16
Case 18-31436   Doc 347    Filed 07/07/21 Entered 07/07/21 12:01:59   Desc Main
                           Document Page 17 of 27



the courthouse door” for Y2 Yoga.           Abrams, 605 F.3d at 246.           In

summary, Guidry took this case with no guarantee of recovering any

fees above $19,000, and this made it an undesirable case.                    With

respect to HT, the same facts that made the case difficult,

complex, and undesirable for Guidry made the case novel and

undesirable for HT.       This is further evidenced by the fact that HT

withdrew from representing Y2 Yoga shortly after filing the second

complaint since Y2 Yoga could no longer afford its representation

on a time and expense basis.

     With regards to Henderson and the difficulty of the work, the

bankruptcy cases involve novel issues given the few reported cases

interpreting North Carolina’s attachment lien statute and the

right   to   reciprocal     attorney’s     fees   under   §   6-21.6    in    the

bankruptcy context.        Moreover, the overlay of the state court

litigation and the fact that the case remains vigorously disputed

to this day contributes to the difficulty of the case.                Likewise,

Henderson testified that considering the current financial state

of Y2 Yoga, there was substantial risk that Y2 Yoga would not be

able to afford his fees, and he primarily took on the case as a

favor to his former neighbor—the owner of Y2 Yoga.             Therefore, the

same facts that made the case undesirable for Guidry and HT made

the case undesirable for Henderson.               In conclusion, Guidry’s,

Henderson’s, and HT’s fees are all reasonable considering the

novelty, difficulty, and undesirability of the case.




                                      17
 Case 18-31436   Doc 347   Filed 07/07/21 Entered 07/07/21 12:01:59   Desc Main
                           Document Page 18 of 27



     C. The reasonableness of the time and labor expended, the billing
        rates charged by the attorneys, the skill required to perform
        properly the legal services rendered, and the amount of
        attorney’s fees awarded in similar cases11

       Like the other factors, the reasonableness of the time and

labor    expended   weighs    in   favor   of   approving    Guidry’s     fees.

Guidry’s fees include the $19,000 flat fee plus the $284,357.43

contingency fee, which is 45% of the judgment plus interest to

date.    It is instructive to compare these fees to those of other

attorneys involved in the state court proceedings.                Christopher

Campbell (“Campbell”), the attorney for Reid’s insurance company

during the state court proceedings, was paid $185,000 for a total

of 1,207 hours billing at insurance defense rates of between $150

and $165 per hour.      Campbell testified that Nancy Litwak12 charged

$215 per hour for the defense of the architect in the state court

proceedings and has a standard rate of $300 per hour for private

litigation.      Campbell also testified that the hourly rate for

general commercial litigation attorneys with approximately 12

years of experience, similar to Guidry, ranges from $400 to $450.

Guidry testified that his standard rate is $350 per hour, which is

below the range of standard rates based on Campbell’s testimony



11
   These are factors 2, 4, and 12 of § 6-21.6. They are analogous to Abrams
factors 1 (“time and labor required in the case”), 3 (“skill required to perform
the necessary legal services”), and 12 (“fee awards made in similar cases”).
This section also addresses Abrams factors 4 (“preclusion of other employment
due to acceptance of the case”), 7 (“the time pressures imposed in the case”),
and 9 (“experience, reputation, and ability of the lawyer”).
12
   Nancy Litwak was formerly with Hamilton Moon Stephens Steele & Martin and is
now with Rosenwood, Rose & Litwak. She and Campbell have litigated against
each other on a few different occasions since 2012.


                                      18
Case 18-31436    Doc 347    Filed 07/07/21 Entered 07/07/21 12:01:59   Desc Main
                            Document Page 19 of 27



and    only   slightly     more    than   Litwak’s    rate.      Based    on   the

approximately 1,355 hours that Guidry worked during the state court

litigation, his contingency fee in this case equates to around

$205 per hour.     This is well below his normal hourly rate and the

hourly rates that Campbell testified are normal for an attorney of

his experience.     Had Guidry billed Y2 Yoga his standard rate, Y2

Yoga would have incurred legal fees closer to $475,000.                  Based on

this and the other evidence Guidry provided in his declaration and

at the hearing, Guidry’s time, labor expended, and billing rates

are reasonable.

       Furthermore, Guidry has the skill and experience required to

perform the legal services rendered, and the fees awarded in

similar cases and the time commitment of the case support awarding

Guidry’s fees.     Guidry has practiced law in North Carolina since

2008    and   focuses      his    practice     on   commercial   and     business

litigation.     He worked with King & Spalding until early 2017 and

then joined a smaller firm before starting his own firm in 2018.

Guidry has handled clients through arbitration, trial, and on

appeal on a wide variety of issues including contracts, real

estate, and construction.          In addition, the state court litigation

involved a substantial time commitment that precluded Guidry from

working on other matters for other clients                    and imposed time

pressures.     Y2 Yoga originally contacted Guidry in late 2016 and

then retained him in April 2017.               The proceedings lasted over a




                                          19
Case 18-31436   Doc 347   Filed 07/07/21 Entered 07/07/21 12:01:59    Desc Main
                          Document Page 20 of 27



year and a half, with a jury verdict in December 2018.                 Finally,

the actual award in the case is tied to the result of the case

given that the fee is a contingency fee.          A 45% contingency fee is

a fairly standard rate for a complex case with a high risk of not

being able to collect the award.          Thus, it stands to reason that

the award is fair compared to other cases since the contingency

fee is fair. As a result, the experience required, time pressures,

and fees awarded in similar cases weigh in favor of Guidry in

considering whether his fees are reasonable.

     Henderson’s fees are also reasonable when analyzing the time

and labor expended, rates charged, skill required to perform the

legal services rendered, and the time commitment that the case

required.    Henderson’s initial fee agreement with Y2 Yoga in

September 2018 billed an hourly rate of $350, which is less than

his standard rate of $450 per hour.             Henderson amended his fee

agreement in February 2019 when it became apparent that the case

was not going to be short lived to charge his normal rate of $450

per hour.    Four hundred and fifty dollars per hour is comparable

to   other   bankruptcy    attorneys      in   the   Charlotte       area   with

Henderson’s experience.        Henderson has spent approximately 567

hours on the bankruptcy cases, and the fees he has accrued in these

cases have been driven in large part by the arguably unnecessary

filing of the bankruptcy cases and litigious manner in which they

have been pursued by the Debtors.              The Debtors’ litigiousness




                                     20
Case 18-31436    Doc 347     Filed 07/07/21 Entered 07/07/21 12:01:59    Desc Main
                             Document Page 21 of 27



includes the appeal of the motion to convert which was recently

dismissed by the Fourth Circuit and, most recently, a motion to

reconsider the court’s December 2, 2020 order that was an overt

attempt to reargue matters already litigated.               Moreover, Henderson

has the skill required for these bankruptcy cases, as he has been

a bankruptcy attorney since 1994 and the court is familiar with

his work in many of his cases.           The time pressures and work spent

on this case are considerable for all the same reasons they were

for Guidry and for the same reasons that make the bankruptcy cases

complex.   The Debtors filed the bankruptcy cases in September and

October of 2018, and they remain pending to this day.                    Thus, in

considering     the   reasonableness         of    Henderson’s   fees,    all    the

factors involving skill, experience, and time pressures weigh in

favor of approval of Henderson’s fees.

       Finally, with respect to HT, their fees are also reasonable

when   considering     the    time,    labor,       skill   required,    and    time

pressures of the case.          Matz and Guidry both testified that the

work performed by HT was very helpful in “getting the ball rolling”

and the second complaint HT filed ultimately served as the basis

for Y2 Yoga’s success at trial.                   HT did considerable work in

assessing the construction problems and advising Y2 Yoga, and

Guidry stated that the work provided a great benefit to him.                    Matz

testified that he was pleased with HT’s work and the only reason

that Y2 Yoga stopped using the firm was due to the fact that Y2




                                        21
 Case 18-31436   Doc 347   Filed 07/07/21 Entered 07/07/21 12:01:59   Desc Main
                           Document Page 22 of 27



Yoga could no longer afford the expense of hourly billing.                 Matz

further testified that he reviewed the time sheets on a biweekly

basis and had no objection to any of the time sheets or the work

HT performed.       Gregory Shelton was the primary attorney for HT,

and he charged an hourly rate of $300 per hour, which is standard

for    commercial    litigation   attorneys     in   the   Charlotte,     North

Carolina area. In summary, HT’s fees are reasonable when assessing

the time, labor, skill required to perform the legal work, and the

time commitments of the case.

     D. Efforts at voluntary resolution and the relative economic
        positions of the parties.13

       Although Y2 Yoga is a creditor in this case and VR King and

Reid are the parties filing bankruptcy, Y2 Yoga is not in a strong

relative economic position compared to the Debtors.                   First, it

remains to be seen if it was even necessary for the Debtors to

file bankruptcy given that the debtors appear to be fully solvent.

As for Y2 Yoga, it incurred substantial debt to undertake the

construction project and has spent a great deal of money on

litigation.      It was unable to continue to pay HT and forced to

retain Guidry on a contingency fee arrangement.            As of the date of



13
  This section address the following factors under § 6-21.6: 5 (“[t]he relative
economic circumstances of the parties”), 6 (“[s]ettlement offers made prior to
the institution of the action”), 7 (“[o]ffers of judgment pursuant to Rule 68
and whether judgment finally obtained was more favorable than such offers”), 8
(“[w]hether a party unjustly exercised superior economic bargaining power in
the conduct of the action”), 9 (“[t]he timing of settlement offers”), and 10
(“[t]he amounts of settlement offers as compared to the verdict”). None of the
Johnson factors address settlement attempts.



                                      22
Case 18-31436   Doc 347   Filed 07/07/21 Entered 07/07/21 12:01:59    Desc Main
                          Document Page 23 of 27



the hearing, Y2 Yoga’s balance sheet showed that it was insolvent.

By comparison, the Debtors’ insurance company, Nautilus, covered

all the Debtors’ state court litigation costs.               An October 24,

2018, email from Campbell to Guidry confirms that Campbell’s

defense of the defendants carried through the end of trial.                  In

light of all this, it cannot be concluded that either party

unjustly exercised superior economic bargaining power in this case

or had a strong economic position relative to the other.

     At the hearing, the parties spent a great deal of time

discussing efforts at voluntary resolution, and the evidence was

somewhat contradictory and confusing, but ultimately this factor

is either neutral or weighs in favor of Y2 Yoga when assessing the

reasonableness of the attorney’s fees.            Matz testified that he

attempted to settle the matter with Reid on behalf of Y2 Yoga

before litigation and spoke with Reid about 20 times over a three-

to-four-month period.      The Trustee questioned Matz’s ability to

negotiate on behalf of Y2 Yoga, but as the “boots on the ground”

investor in Charlotte, Matz had clear authority to negotiate with

Reid and make settlement offers.          Matz told Reid that at least

$200,000 was necessary to settle the matter, but nothing came of

this offer.     Through HT, Y2 Yoga then issued a written demand

letter to Reid and gave him up to 45 days to respond.                Reid never

responded and conversations stopped after proceedings commenced.




                                     23
Case 18-31436     Doc 347   Filed 07/07/21 Entered 07/07/21 12:01:59   Desc Main
                            Document Page 24 of 27



None of the parties introduced evidence regarding an offer of

judgment pursuant to North Carolina Rule of Civil Procedure 68.

        Before litigation began, the parties attended an all-day

mediation.    According to Campbell, Y2 Yoga’s demand at mediation

was $1.5 million with $350,000 in cash and a consent judgment

placing the Reid defendants’ properties in receivership.                      In

contrast, Guidry testified that the demand was $1.5 million in

cash.    There was a lot of discussion surrounding the demand, but

the talks were not fruitful due to Y2 Yoga’s concern as to what

extent the defendants’ real estate properties were subject to liens

or other encumbrances.        Thus, no formal settlement offer was made

at mediation.      Campbell’s October 24, 2018, email states that Y2

Yoga’s   demand    during     trial   was   approximately     $1.25     million,

including at least $400,000 in cash.          The Debtors’ offer consisted

of a $600,000 unsecured claim in bankruptcy plus $50,000 in cash

and   required    Y2   Yoga   to   consent    to   waive    the   pre-judgment

attachment.      Y2 Yoga did not make any attempts to settle the case

during the trial or after the commencement of the bankruptcy cases.

      The attorney for Reid claimed that during the bankruptcy

proceedings, Reid offered to settle these matters for the amount

of the Final Judgment plus $20,000 in cash.            The attorney for Reid

indicated that Reid never received a response to this offer, but

due to the conversion of the case to a Chapter 7 bankruptcy, it

appears that Reid’s counsel did not have the authority to make




                                       24
Case 18-31436     Doc 347    Filed 07/07/21 Entered 07/07/21 12:01:59   Desc Main
                             Document Page 25 of 27



that offer.       Throughout all of the proceedings, the settlement

negotiations were extremely limited, and according to Guidry, the

dynamic between Reid and the insurer created                    an obstacle to

engaging in meaningful settlement discussions, as the insurer had

no apparent interest in contributing to any settlement.

     In the end, the parties were unable to reach a settlement

surrounding these terms and the case went to the jury for verdict.

Campbell      described     in   an   email   dated   October    30,    2018,   to

Henderson, Guidry, and the Debtors’ bankruptcy counsel at the time

that the parties had not yet figured out how to make concessions

on issues that were “non-starters” for either side.                 For example,

Reid would not voluntarily dismiss his bankruptcy case and Y2 Yoga

would   not    waive   pre-judgment      attachment     for   the    purpose    of

priority. In conclusion, the settlement offers made by the parties

throughout the proceeding never resulted in anything material and

discussions were never fruitful as the parties could not get past

key issues.      Thus, as this pertains to the reasonableness of the

attorney’s fees of Henderson, Guidry, and HT, the factors regarding

settlement are a neutral factor and, if anything, weigh slightly

in favor of Y2 Yoga given its efforts to settle before the state

court litigation commenced.

     In comparing the settlement offers made by Reid during trial

and the Final Judgment, the Final Judgment is more favorable.

Reid’s last offer of a $600,000 unsecured claim in bankruptcy plus




                                        25
 Case 18-31436     Doc 347   Filed 07/07/21 Entered 07/07/21 12:01:59         Desc Main
                             Document Page 26 of 27



$50,000 in cash was, based on the original schedules and statements

filed in Reid’s Chapter 13 bankruptcy, an almost worthless offer.

The     real    estate    offered      as    settlement       in     early   settlement

discussions was also unattractive given the concerns regarding

liens and other encumbrances on the properties.                         Therefore, the

judgment in this case, a secured claim in the amount of $396,649.57

plus costs, interest, and the right to attorney’s fees pursuant to

the     reciprocal     attorney’s      fees       provision    in    the   Construction

Agreement, is more favorable than any settlement offer made by the

Debtors.        As a result, the verdict compared to the settlement

offers weigh in favor of considering Y2 Yoga’s attorney’s fees

reasonable.

     E. The terms of the business contract14

        The    final     factor   in        analyzing    the        reasonableness   of

attorney’s fees is the terms of the Construction Agreement, and

this factor weighs in favor of awarding attorney’s fees. The court

previously considered the Construction Agreement in its December

2, 2020 order and determined that the indemnity provision is valid

and enforceable as a reciprocal attorney’s fees provision under §

6-21.6.        Therefore, the terms of the contract support approving

the attorney’s fees of HT, Guidry, and Henderson.




14
     This is factor 13 of § 6-21.6.


                                             26
 Case 18-31436   Doc 347    Filed 07/07/21 Entered 07/07/21 12:01:59    Desc Main
                            Document Page 27 of 27



                                  V.   Conclusion

      In conclusion, all the factors under North Carolina General

Statute § 6-21.6 are either neutral or weigh in favor of awarding

Y2 Yoga all of its attorney’s fees.            The factors under 11 U.S.C.

§ 506(b) in assessing the reasonableness of attorney’s fees are

largely similar to those found in § 6-21.6.              As a result, Y2 Yoga

has met its burden in demonstrating that the attorney’s fees in

the Claim are reasonable, regardless of whether the Claim is

secured or unsecured. None of the objections raised by the Trustee

or   the   Debtors   have    sufficient     merit   to   conclude      otherwise.

Accordingly, the court hereby OVERRULES THE TRUSTEE’S AND DEBTORS’

OBJECTIONS TO CLAIM.

      SO ORDERED.

This Order has been signed                       United States Bankruptcy Court
electronically. The Judge’s
signature and Court’s seal
appear at the top of the Order.




                                       27
